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PATRICIA S. DODSZUWEIT            UNITED STATES COURT OF APPEALS                    TELEPHONE
                                            FOR THE THIRD CIRCUIT                  215-597-2995
          CLERK                       21400 UNITED STATES COURTHOUSE
                                             601 MARKET STREET
                                         PHILADELPHIA, PA 19106-1790
                                      Website: www.ca3.uscourts.gov

                                              June 10, 2025


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Janet Carter, Esq.                                 Matthew Rowen, Esq.
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Mitchell B. Jacobs, Esq.

RE: Association of New Jersey Rifle and Pistol Clubs I, et al v. Attorney General New Jersey,
et al
Case Number: 24-2415, 24-2450, 24-2506
District Court Case Number: 1:22-cv-04397; et al.

Dear Counsel:

The Court has directed me to advise counsel in the above-entitled case that oral argument
on the merits is scheduled on Tuesday, July 1, 2025. Counsel will be allotted 15 minutes
oral argument time for each side. Pursuant to Fed. R. App. P. 29(a)(8), an amicus curiae
may participate in oral argument only with the Court’s permission.

Court will convene at 9:30 a.m. and argument in this matter is scheduled in The Albert
Branson Maris Courtroom, (19th Floor, U.S. Courthouse, 6th & Market Sts.,
Philadelphia, PA.) Counsel who will present oral argument should register with the
Court Crier in the courtroom 30 minutes prior to the time when court is scheduled to
convene.

At the direction of the Court, counsel for the Appellee will be permitted to participate
remotely.

Counsel should read the instructions for oral argument. If multiple parties are arguing for
each side, counsel shall file a division of time form (a writeable form), if necessary,
through CM/ECF.
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Appellants and Appellees are asked to provide very brief summaries of the issues in the
case by docketing the Summary of Oral Argument event, located in the Argument
Notices & Acknowledgements category, within five (5) business days. This is part of a
program to provide the public with information about the Court’s cases. The summaries
will be posted on the Court’s website.

Audio of arguments is posted on the Court’s website shortly after the conclusion of
arguments. In addition, the Court may direct that video of oral argument 1 in cases that are
of significant interest to the public, the bar or the academic community be posted on the
website. In order to assist the Court in this determination, Appellants and Appellees will
be asked, when providing the summary of oral argument, whether they recommend that
video be posted or whether they object to the posting of video. Whether video is posted is
within the sole discretion of the judges hearing oral argument. The panel of the Court will
determine after oral argument whether video of any argument should be posted.
Attorneys will be notified if video will be posted and given a further opportunity to object
by close of business the next day.

Pursuant to IOP Chapter 2, you are hereby advised that your appeal will be argued before
the following panel: SHWARTZ, FREEMAN and SMITH, Circuit Judges.

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk


By: Ashley
Calendar Clerk
267-299-4947




1
 Only arguments scheduled in the Albert Branson Maris and Collins J. Seitz courtrooms in Philadelphia, PA are
video recorded.
